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             In the United States District Court
             for the Southern District of Georgia
                     Brunswick Division

FABIO OCHOA-VASQUEZ,

           Petitioner,                          2:23-cv-125

     v.

WARDEN SWANEY,

           Respondent.


                                 ORDER

     Petitioner   Fabio   Ochoa-Vasquez    (“Ochoa-Vasquez”)    filed   a

Motion to Set Aside or, Alternatively, for Reconsideration of the

Order adopting the Report and Recommendation.        Dkt. No. 23.    The

Court DENIES as moot Ochoa-Vasquez’s Motion, as the Court has

considered his Objections.      Dkt. No. 24.     The Court’s June 12,

2024 Order remains the Order of this Court, and this case remains

CLOSED.   Dkt. Nos. 20, 22.

     SO ORDERED, this 2nd day of July, 2024.




                           HON. LISA GODBEY WOOD, JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
